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                                       STATEMENT OF FACTS

        On January 6, 2021, your affiant, Jamie L. Dvorsky, was on duty and performing my
official duties as a Special Agent. Specifically, I am assigned to the Federal Bureau of
Investigation, tasked with investigating criminal activity in and around the Capitol grounds. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. On January 6, 2021, the U.S. Capitol was closed to the public and only authorized people
with appropriate identifications were allowed access inside the U.S. Capitol. On January 6, 2021,
the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
Temporary and permanent barricades were in place around the exterior of the U.S. Capitol
building, and U.S. Capitol Police were present and attempting to keep the crowd away from the
Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol. However, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Following the events on January 6, 2021, the Federal Bureau of Investigation (FBI)
received tips at the FBI National Threat Operations Center (NTOC) from individuals who reported
that they identified JEFFREY ALEXANDER SMITH, aka ALEX SMITH, as being involved in
the events at the Capitol. On January 7, 2021, one individual (“Witness-1”) who identified
themselves and who has known SMITH for an extended period of time had discovered a photo of
SMITH inside the Capitol on social media which had been posted to Instagram by
@homegrownterrorists. The photo depicts SMITH wearing a black jacket and a Trump hat, with
a red cell phone in his right hand which is raised in the air.




        On January 10, 2021, Witness-1 was interviewed by an FBI Special Agent and reported
that on January 9, 2021, SMITH showed Witness-1 a video he took of himself walking into the
Capitol on January 6, 2021. SMITH had since removed his Instagram account and Witness-1
could not find any other pictures SMITH posted online. Witness-1 provided a phone
number for SMITH.

        On January 8, 2021, a tip was received by the FBI Tipline from an individual (“Witness-
2”) who grew up with SMITH in Coronado, California, and who texted with SMITH via Instagram
after the riots. Witness-2 provided screen shots of the messages which included SMITH writing,
“I’m a Patriot”, “I stormed the capital” (sic). In the text, SMITH stated that his purpose was “To
send a message that Americans are[n’] t going to take a fraudulent election.” SMITH also wrote
to Witness-2, “There is no way in hell I was going to drive 38 hours from San Diego and not walk
right through the front of the capital (sic) building.” Witness-2 also observed that SMITH had
since deleted his Instagram account.

       On January 12, 2021, an FBI Special Agent contacted SMITH via cellular telephone to
schedule an interview. SMITH’s telephone number was the same number provided by Witness 1.
During the call, SMITH advised he was driving back to his parents’ home in San Diego, California.
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SMITH told the agent that he drove 38 hours to Washington, DC, to attend the speech by President
Trump on January 6, 2021. SMITH said that his girlfriend traveled by air and met him in
Washington, D.C. SMITH told his girlfriend to remain at the hotel instead of getting into all the
chaos at the U.S. Capitol. SMITH also identified the hotel he stayed at in Washington, D.C.
SMITH admitted that when he approached the U.S. Capitol it was a chaotic scene. He heard people
on loudspeakers, he saw tear gas, and heard what he thought were flash bangs going off. SMITH
admitted he walked into the Capitol on January 6, 2021 and remained in the Capitol for about 30
minutes. SMITH admitted to deleting his Instagram account after he began receiving threats
related to his involvement in the Capitol events.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JEFFREY ALEXANDER SMITH aka ALEX SMITH violated18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do so; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions; or attempts or conspires to do so; For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JEFFREY ALEXANDER
SMITH aka ALEX SMITH violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime
to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                              ______________________________________
                                              JAMIE L. DVORSKY, SPECIAL AGENT
                                              FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 22 day of January 2021.




                                              ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
